     Case 6:17-cr-06016-CJS-JWF Document 26 Filed 02/16/18 Page 1 of 10



IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA
                                                             17-CR-6017CJS
                                                             17-CR-6016CJS
             v.

RICHARD WILBERN,

                             Defendant.




      GOVERNMENT=S RESPONSE TO WILBERN’S PRETRIAL MOTIONS



      The United States of America, through its attorneys, James P. Kennedy, Jr., United

States Attorney for the Western District of New York, and Douglas E. Gregory, Assistant

United States Attorney, of counsel, hereby files its response to the pretrial motions of

defendant Richard Wilbern.




                                 RULE 12(B)(4) NOTICE


      The United States has filed two notices under Rule 12(B)(4) of the Federal Rules of

Evidence.   The first was filed pursuant to the Court’s directive on April 28, 2017.   A

supplemental Rule 12(B)(4) Notice was filed on December 29, 2017.




                                           1
     Case 6:17-cr-06016-CJS-JWF Document 26 Filed 02/16/18 Page 2 of 10



                            DISCOVERY AND INSPECTION


       The United States has thus far complied with, and continues to respond to, defendant’s

requests for discovery under Rules 12 and 16 of the Federal Rules of Criminal Procedure.

The government has been responsive to the defendant’s requests to review tangible evidence

and has provided several rounds of follow up discovery and/or clarification as requested by

the defendant. The government will continue to provide any additional discoverable items

as they become available.


       A.     Rule 16(a)(1)(A) - With respect to statements, all prior oral statements have

       been provided in discovery.     See, Exhibit A to Government’s Rule 12(b)(4)(A)

       Notice, ¶ (e).


       B.     Rule 16(a)(1)(B) -    The defendant did not provide any written statements

       which the government intends to rely upon in their case-in-chief.     With respect to

       recorded statements, all prior recorded statements have been provided in discovery.

       See, Exhibit A to Government’s Rule 12(b)(4)(A) Notice, ¶ (e).


       C.     Rule 16(a)(1)(D) -   The defendant has been provided with a copy of his prior

       criminal record, both by the government and the United States Probation Department.


       D.     Rule 16(a)(1)(E) -   The defendant, through his attorney, has been permitted

       to inspect all tangible evidence currently held by law enforcement. This includes

       evidence maintained at the Webster Police Department and the Federal Bureau of

       Investigation.   An investigator with the Public Defender’s Office was present to

                                             2
     Case 6:17-cr-06016-CJS-JWF Document 26 Filed 02/16/18 Page 3 of 10



      photograph all items of tangible evidence during the course of those meetings.

      Additionally, the defendant has been provided with all video evidence and, to the

      extent necessary, has been permitted to view the video evidence at the office of the

      United States Attorney.


      E.     Rule 16(a)(1)(F) -     Reports of examinations and scientific tests have been

      turned over in discovery, including those pertaining to DNA evidence from the

      Monroe County lab and the Office of the Chief Medical Examiner (OCME).

      Pursuant to a request dated February 1, 2018, “electronic raw data” from both

      laboratories has been provided. All reports relating to attempts to obtain fingerprint

      evidence has likewise been disclosed.        All reports relating to facial recognition

      analysis have likewise been provided.       All metallurgical comparison reports have

      been provided. All reports relating to the forensic examination of certain computer

      or cell phones have been disclosed. 1


      F.     Rule 16(a)(1)(G) -    The government anticipates that it will call several

      expert witnesses in it case-in-chief. At this point in time, the government gives notice

      of the following areas where it expects expert evidence. The government reserves the

      right to supplement this notice. In that event, notice under Rule 16(a)(1)(G) will be

      promptly provided, well prior to trial in this matter.



1    The Government still has within its possession an Apple Iphone 6, Model A1687. A
warrant authorizing a search of the phone’s contents was signed by the Hon. Jonathan W.
Feldman with several extensions to February 16, 2018. As of February 16, 2018, the United
States has not been able to access the contents as the device is password protected.

                                              3
      Case 6:17-cr-06016-CJS-JWF Document 26 Filed 02/16/18 Page 4 of 10



              A.     Forensic Biology/DNA Evidence


       The government expects to call several expert witnesses relating to DNA testing

performed by the Monroe County Lab and the Office of the Chief Medical Examiner

(OCME). The government will identify the precise individuals expected to testify, a written

summary of their expected testimony, to include the “witness’s opinions, the bases and

reasons for those opinions, and the witness qualifications”. At this time, the government

expects to call Nancy Scibetta, formerly employed as Assistant Director of the Monroe

County Laboratory, relative to testing in 2003; Ellyn Colqhoun, Forensic Biologist I, DNA

Technical Leader, Monroe County Crime Laboratory; Kristin McCann, Forensic Biologist I,

formerly employed by the Monroe County Crime Laboratory; Craig O’Connor, Criminalist,

OCME; Michele Egerman; Criminalist, formerly employed by OCME.


        In terms of items seized at the crime scene at the XFCU, the expert testimony will

involve DNA testing of an umbrella located on the desk of a female employee, as well as a

chair located inside the same office. The government further intends to offer evidence of the

DNA profile of Richard Wilbern, stemming from OCME’s testing of an envelope and a

buccal swab, as well as the Monroe County Crime Laboratory’s testing of a buccal swab.

The government intends to offer testimony that the DNA profile of Richard Wilbern is

consistent with the DNA profile located at two locations on the umbrella.


        The government also expects to provide evidence of DNA testing and comparison of

several additional individuals. Reports relating to the “exclusion” of Jamel Brumfield and

Webster Technician Len Williamson have previously been provided in discovery.

                                             4
      Case 6:17-cr-06016-CJS-JWF Document 26 Filed 02/16/18 Page 5 of 10



Additional testing for comparison purposes of other individuals is pending at the investigative

stage. All reports of additional OCME testing in this regard will be provided as soon as they

become available.



               B.      Fingerprint Evidence


       The government intends to call Inv. Len Williamson, formerly of the Webster Police

Department, relative to his attempts to lift fingerprints from certain locations, including an

umbrella located on the desk of employee Felicia Wyatt and from various surfaces located

within the Xerox Federal Credit Union.         The reports have previously been turned over in

prior discovery demands.      It is anticipated that Williamson will explain the process that

occurred and the fact that no usable prints were obtained. Mr. Williamson’s background,

qualifications and the basis of his conclusions will be provided well prior to trial in this matter.



               C.      Facial Recognition Testimony


       The government has previously disclosed the report of examination of Walter E.

Bruehs, FBI Operational Technology Division, of the Forensic Audio, Video and Image

Analysis Unit. Lead 1045. Mr. Bruehs will testify that the Unit was requested to compare

known facial images of Victor Johnson with the facial images of the alleged perpetrator as

contained on the XFCU surveillance tape, as well as with two (2) still images taken from the

video. He will opine that based upon the quality of the video tape, it could not be used for

forensic comparison purposes. He will further opine that based upon the lack of visible detail



                                                 5
      Case 6:17-cr-06016-CJS-JWF Document 26 Filed 02/16/18 Page 6 of 10



in the facial features depicted in the two (2) still images, Victor Johnson could neither be

identified nor eliminated as being the suspect perpetrator.            Mr. Bruehs’ background,

qualifications and the basis of his conclusions will be provided well prior to trial in this matter.



               D.      Height Analysis


       The government has previously disclosed the report of examination of Walter E.

Bruehs, FBI Operational Technology Division, of the Forensic Audio, Video and Image

Analysis Unit. Lead 1090. Mr. Bruehs will testify that based upon his testing and analysis

of the crime scene location, the alleged perpetrator is approximately 6’0” tall.



                      Government’s Demand under Rule 16(b)(1)((B) & (C)


       It is anticipated that the defense will be calling their own experts at the time of trial

and for any scheduled pre-trial evidentiary hearings, if warranted. The defendant’s request

for disclosure under Rule 16(a)(1)(F) triggers the Government demand for disclosure pursuant

to Rule 16(b)(1)((B) and (C). Specifically, the government demands that the defense identify

to the government the name of any expert witnesses it intends to call, a written summary of

their expected testimony, a written summary of their opinions, copies of any and all tests

performed which underlie their expected testimony, the bases and reasons for those opinions

and the witnesses qualifications.




                                                 6
      Case 6:17-cr-06016-CJS-JWF Document 26 Filed 02/16/18 Page 7 of 10



                    ADDITIONAL DISCOVERY REQUESTS FILED
                       FEBRUARY 1 and FEBRUARY 15, 2018


       On or about February 1, 2018, the defense provided the government with a 5-page,

single-spaced supplemental request for additional items, materials, photos, reports, notes,

records and documents. On February 15, 2018, the defense emailed the government with a

list of additional items that they are requesting. The government has worked diligently to

provide most, if not all, of the requested items, including those that are not in the custody or

control of the government. As to the February 1, 2018 requests, those items are being

supplied to the defense concurrent with the filing of this motion response. The February 15,

2018 requests will be supplied by February 23, 2018. The defense has indicated that it

intends to file additional requests, to which the government will respond as appropriate.




                                    BRADY MATERIALS


       The government is fully aware of its responsibilities under the doctrine of Brady v.

Maryland, 373 U.S. 83 (1963). Brady does not create a constitutional right of pre-trial

discovery in a criminal proceeding and it does not require that the prosecution reveal before

trial the names of its witnesses. Weatherford v. Bursey, 429 U.S. 545, 559 (1977). Nor does

it require the disclosure of evidence affecting the credibility of prosecution witnesses before it

would otherwise become available under the discovery rules or the Jencks Act. See United

States v. Dotel, No. 93CR173, 1994 WL 25787, slip op. at 3 (S.D.N.Y. 1994) (Brady

impeachment material as to government's witnesses -- i.e. Giglio material -- is properly


                                                7
      Case 6:17-cr-06016-CJS-JWF Document 26 Filed 02/16/18 Page 8 of 10



disclosed when witness testifies at trial); United States v. Feldman, 731 F. Supp. 1189, 1200

(S.D.N.Y. 1990) (same); United States v. Victor Teicher & Co., L.P., 726 F. Supp. 1424,

1442-43 (S.D.N.Y. 1989)(same).


       Brady compels the government to disclose exculpatory material in time for its effective

use at a trial or at a plea proceeding. United States v. Copa, 267 F.3d 132, 144 (2d Cir. 2001)

(Aas long as a defendant possesses Brady evidence in time for its effective use, the government

has not deprived the defendant of due process of law simply because it did not produce the

evidence sooner. There is no Brady violation unless there is a reasonable probability that

earlier disclosure of the evidence would have produced a different result at trial or at a plea

proceeding.@) (citations omitted).



       The defense requests a “date certain” Order compelling the government to reveal all

Brady materials, with an ongoing responsibility to disclose Brady materials on a rolling basis.

To the extent Brady materials exist, the Government does not oppose this request.



            MOTION FOR PRODUCTION OF JENCKS ACT MATERIAL


       The government declines to produce Jencks Act material on the schedule proposed by

the defendant. The District Court judge assigned to handle the trial in this matter typically

requires such disclosure by a date certain prior to trial. The Government does not object to

providing materials under 18 U.S.C. ' 3500 thirty (30) before trial or as required by the

District Court’s Pre-Trial Order.


                                              8
      Case 6:17-cr-06016-CJS-JWF Document 26 Filed 02/16/18 Page 9 of 10




              DISCLOSURE OF RULE 404(b), 608 AND 609 MATERIAL


       Rule 404(b) of the Federal Rules of Evidence provides that the prosecution “shall

provide reasonable notice in advance of trial ... of the general nature of any such evidence [of

other crimes, wrongs, or acts] it intends to introduce at trial.” Fed. R. Evid. 404(b). What

constitutes reasonable notice “depends on the circumstances of the particular case.” United

States v. Reddy, 190 F.Supp.2d 558, 577 (S.D.N.Y. 2002). The United States has provided

evidence, in the form of criminal history reports, documents and underlying police reports

related to specific prior acts, including charged and uncharged crimes, in the course of

discovery.


       The District Court judge assigned to handle the trial in this matter typically requires

404(b), 608 and 609 disclosure by a date certain prior to trial. The United States will provide

specific notification of any Rule 404(b), 608 and 609 evidence it intends to introduce at trial

well in advance of trial, thus permitting the defendant to file motions in limine where desired.

The trial in this matter, however, has yet to be scheduled in the District Court. Therefore,

the government respectfully moves this Court to deny the defendant’s motion on the ground

that it is simply unwarranted at this time. See United States v. Birkett, 1999 WL 689992, *6

(S.D.N.Y.) (denying as premature defendants' motion for 404(b) evidence).




                                               9
      Case 6:17-cr-06016-CJS-JWF Document 26 Filed 02/16/18 Page 10 of 10



                 MOTION FOR PRESERVATION OF ROUGH NOTES


       The government understands its obligation to inform its agents and officers working

this investigation to maintain copies of their rough notes for trial.



           GOVERNMENT'S REQUEST FOR RECIPROCAL DISCOVERY


       The government hereby requests that the defendant be directed to produce any and

all discovery to which the government is entitled under Rules 16(b)(1)(A), 16(b)(1)(B) and

16(b)(1)(C).


                                        CONCLUSION

       For the reasons specified herein, the defendant's motions for various forms of relief

should be denied except insofar as the materials and information requested have been

provided, or the relief sought in the motions is not at issue. Further, the government=s

motion for reciprocal discovery should be granted.

DATED:         February 16, 2018

                                             JAMES P. KENNEDY, JR.
                                             United States Attorney

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                                               10
